                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:12-00055
                                                   )       JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE and                            )
JAMES BENJAMIN LEE                                 )

                                            ORDER

       Pending before the Court is a Motion for Leave to File Document Under Seal (Docket No.

118). The Motion is GRANTED pending further order of the Court.

       The Court will not rule on the underlying Motion until the Government files a statement as

to why the Motion was not served on Defendants and why the Motion should be filed under seal.

       It is so ORDERED.

                                                   ____________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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